
37 So. 3d 158 (2009)
DICKSON CAMPERS, INC.
v.
CITY OF MOBILE.
2050875.
Court of Civil Appeals of Alabama.
October 30, 2009.
Stephen E. Clements, Mobile, for appellant.
K. Paul Carbo, Jr., of The Atchison Firm, P.C., Mobile, for appellee.

On Remand from the Alabama Supreme Court
THOMAS, Judge.
The prior judgment of this court has been reversed by the Supreme Court of Alabama. See Ex parte City of Mobile, [Ms. 1061581, September 4, 2009] 37 So. 3d 150 (Ala.2009). On remand to this court, and in compliance with the supreme court's opinion of September 4, 2009, the judgment of the circuit court is affirmed.
AFFIRMED.
THOMPSON, P.J., and PITTMAN, BRYAN, and MOORE, JJ., concur.
